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The following constitutes the ruling of the court and has the force and effect therein described.




Signed July 1, 2023
______________________________________________________________________




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                            )
      In re:                                                )   Chapter 11
                                                            )
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                    )   Case No. 19-34054-sgj11
                                                            )
                                   Reorganized Debtor.      )
                                                            )
                                                            )


               ORDER STRIKING HMIT’S EVIDENTIARY PROFFER PURSUANT TO
                         RULE 103(a)(2) AND LIMITING BRIEFING

               The Court has reviewed Hunter Mountain Investment Trust’s (“HMIT”) Evidentiary

     Proffer Pursuant to Rule 103(a)(2) (“Proffer”; Dkt. No. 3858), the Highland Parties’ Joint

     Objections To And Motion To Strike HMIT’s Evidentiary Proffer Pursuant to Rule 103(a)(2)

     (“Motion”; Dkt. No. 3860) filed by Highland Capital Management, L.P., the Highland Claimant

     Trust, and James P. Seery, Jr. (collectively, the “Highland Parties”), and the Claims Purchasers’

     Joinder to the Highland Parties’ Objections and Motion to Strike HMIT’s Purported Proffer (Dkt.

     No. 3861) filed by Muck Holdings, LLC, Jessup Holdings LLC, Farallon Capital Management,
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L.L.C., and Stonehill Capital Management LLC (collectively with HMIT and the Highland Parties,

the “Parties”). After due deliberation, the Court has determined that good and sufficient cause has

been shown for the relief requested in the Motion. It is therefore ORDERED that:

       1.      The Motion is GRANTED.

       2.      The Proffer and its accompanying declarations are stricken from the record for the

reasons set forth in the Court’s June 27, 2023 email (attached hereto as Exhibit A). The Court

directs the Clerk to remove docket entry 3858 from the docket.

       3.      The Parties shall not file any additional briefs, motions, pleadings, proffers, or other

submissions with the Court in connection with the Motion, the Highland Parties’ Joint Motion to

Exclude Testimony and Documents of Scott Van Meter and Steve Pully (Dkt. No. 3820), or any

proposed/excluded expert evidence relative to HMIT’s Motion for Leave to File Verified

Adversary Proceeding (Dkt. No. 3699).



                                    ### END OF ORDER ###
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               Exhibit A
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